                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:04cr250

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )                                   ORDER
                                         )
JUSTIN O’BRIAN DAVIS (16)                )
________________________________________ )

       THIS MATTER is before the Court upon motion of the defendant pro se complaining

about the calculation of his sentence by the Bureau of Prisons (BOP). (Doc. No. 690).

       In the motion, the defendant seeks credit for time he was allegedly detained in federal

custody before being released to state authorities following his federal sentencing. He argues that

the BOP’s calculation of his sentence is incorrect because he remained in federal custody between

October 18, 2004, until 2006.

       An attack on the execution or length of a federal sentence must be brought in an action

pursuant to 28 U.S.C. § 2241 in the district where an inmate is confined after exhaustion of

administrative remedies. United States v. Miller, 871 F.2d 488, 490 (4th Cir. 1989). Here, the

defendant is incarcerated at the Federal Correctional Institution in Bennettsville, South Carolina,

within the District of South Carolina. Accordingly, the Court is without jurisdiction to grant the

requested relief.

       IT IS, THEREFORE, ORDERED, that the defendant’s motion (Doc. No. 15) is

DENIED without prejudice to be brought in the appropriate district.

                                                  Signed: July 28, 2011




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